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             United States Court of Appeals
                                                 for the
                               Eleventh Circuit
              AMERICAN ALLIANCE FOR EQUAL RIGHTS,

                                                                             Plaintiff/Appellant,

                                                 – v. –



             FEARLESS FUND MANAGEMENT, LLC, ET AL.,

                                                                          Defendants/Appellees.

                           _____________________________
       APPEAL FROM THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
       CASE NO: 1:23-cv-03424-TWT (Hon. Thomas W. Trash, Jr.)

 BRIEF OF AMICI CURIAE NATIONAL VENTURE
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         IN SUPPORT OF APPELLEES
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     American Alliance for Equal Rights v. Fearless Fund Mgmt., LLC, et al.,
                                 No. 23-13138



     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE

                          DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1 and Eleventh Circuit

Rules 26.1-1, 26.1-2, and 26.1-3, Amici Curiae National Venture Capital

Association (“NVCA”) and The Venture Capital Foundation (a/k/a Venture

Forward) hereby certify the following:

       In addition to those identified in the Certificates of Interested Persons and

Corporate Disclosure Statements filed by Plaintiff-Appellant, Defendants-

Appellees, and any other Amicus Curiae, the following is a complete list of persons

and entities known by NVCA and Venture Forward to have an interest in the

outcome of this particular case or appeal:

   1. Brewerton-Palmer, Sarah, Attorney for Amici Curiae National Venture

      Capital Association and Venture Forward

   2. Caplan Cobb LLC, Firm for Amici Curiae National Venture Capital

      Association and Venture Forward

   3. Jackson, Gabrielle, Attorney for Amici Curiae National Venture Capital

      Association and Venture Forward

   4. O’Melveny & Myers LLP, Firm for Amici Curiae National Venture Capital

      Association and Venture Forward


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     American Alliance for Equal Rights v. Fearless Fund Mgmt., LLC, et al.,
                                 No. 23-13138



       NVCA is a non-profit trade association with no subsidiaries or parent

companies. NVCA does not issue stock and no publicly held corporation has a

membership interest of ten percent or more in NVCA.

       Venture Forward is a non-profit and supporting organization to NVCA. It

was founded by, but is not a subsidiary of, NVCA. It has no subsidiaries or parent

companies. Venture Forward does not issue stock and no publicly held corporation

has a membership interest of ten percent or more in Venture Forward.

       Per Circuit Rule 26.1-2(c), Amici Curiae certify that the CIP contained in the

first brief filed and in any other brief that has been filed, including this brief, is

complete.



                                                 Respectfully Submitted,
                                                 /s/ Charles C. Lifland
                                                 Charles C. Lifland

                                                 Counsel for the National Venture
                                                 Capital Association and Venture
                                                 Forward


Dated: December 12, 2023




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  Business Review (July-Aug. 2018)............................................................. 6, 9, 11
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                     INTERESTS OF THE AMICI CURIAE 1

        The National Venture Capital Association (“NVCA”) is a nonprofit trade

association representing U.S. venture capital investors and the entrepreneurs they

support. NVCA was founded in 1973. Its membership spans hundreds of VC firms

from more than 40 states, including venture capital partnerships, corporate venture

groups, seed capital funds, growth equity firms, and university innovation funds.

NVCA is a leading advocate for America’s startup ecosystem and has a deep

commitment to promoting venture capital’s role in enhancing U.S. economic growth

and innovation. NVCA advocates at the federal level on behalf of venture capital

firms and their portfolio companies for policies that encourage innovation. It also

delivers resources and programs to help venture capital firms succeed.

        The Venture Capital Foundation (a/k/a Venture Forward) is a nonprofit and

supporting organization to NVCA, dedicated to addressing serious imbalances

within the venture capital industry that prevent it from maximizing innovation,

impact, and returns. Those imbalances exist both within the investor workforce and

in the ecosystem of founders and entrepreneurs who need access to early capital

investment. Venture Forward focuses on advancing Diversity, Equity, and Inclusion


1
  No party, party’s counsel, or person other than amici, their members, or their
counsel has authored this brief in whole or in part or contributed money intended to
fund preparing or submitting this brief.

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(“DE&I”) among the investor class, striving to remove barriers for new entrants into

venture capital through education, resources, and network building.             Venture

Forward also works directly with venture capital firms to expand their networks and

help them implement DE&I strategies.

      An important industry resource that NVCA and Venture Forward provide is

the biennial VC Human Capital Survey, which collects demographic information on

the venture capital industry’s workforce and information regarding firm talent

management practices and DE&I programs.

      NVCA and Venture Forward are keenly interested in promoting equal

opportunity in the venture capital industry, including by correcting historical

exclusion based on gender, geography, and race. Innovation—led by high-growth

startups—is the bedrock of America’s economic success. When women, people of

color, people from underrepresented geographic regions, and other marginalized

communities are cut off from access to capital, the country’s economy suffers.

Increasing representation of these groups in the venture capital industry is thus

critical to maximizing economic opportunities for all. Grant programs like Fearless

Foundation’s Strivers Grant Contest are an indispensable part of this effort.

      All parties have consented to the filing of this brief.




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                            SUMMARY OF ARGUMENT

         When venture capital thrives, the U.S. economy grows. And venture capital

thrives most when it promotes innovation from businesses from all parts of the

country. Too often, however, venture financing goes to companies on the coasts,

founded and run disproportionately by non-minority entrepreneurs. This stifles

growth—for example, companies with all-male founding teams perform, on average,

worse than counterparts with at least one female founder. See 10 Year Project, First

Round Capital (2015). 2 Venture capital is a relationship-driven, apprenticeship-

based industry, so it is not surprising that most venture capital investors are non-

minorities geographically based on the coasts, and most venture funding goes to non-

minority-owned enterprise, geographically based on the coasts.

         Just as with the economy as a whole, the promise of a more robust venture

capital industry lies in diversifying its reach, so that the best ideas, not immutable

characteristics, determine the direction of the country’s growth. Grant programs like

Fearless Foundation’s that aim to redirect investment to Black-women-owned

businesses are critical to realizing this goal. The law does not and should not prohibit

these salutary initiatives, and the district court’s order should be affirmed.




2
    Available at http://10years.firstround.com (last visited on Dec. 5, 2023).

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                                   ARGUMENT

I.    Venture Capital Is The Engine Of U.S. Economic Growth.

      Venture capital is, in effect, investment in innovation. Venture capital firms

invest billions of dollars each year in small and expanding businesses that employ

thousands of Americans. Between 1990 and 2020, employment at VC-backed

companies grew at a rate of 8 times compared to non-VC backed businesses. See

Employment Dynamics at VC-Backed Companies in the United States: 1990 to 2020,

NVCA.org. 3 And many of those businesses go on to become staples of the economy,

collectively creating millions of jobs and countless new products. Microsoft, Apple,

Amazon, Alphabet, and Facebook were all at one time venture-backed. See What Is

Venture Capital?, NVCA.org. 4 Forty-two percent of drugs approved by the FDA

between 2009 and 2018 originated with venture capital funding. See Trends in

Healthcare Investments and Exits 2019 4, Silicon Valley Bank (2019). 5

      Venture capital investment typically comes at a critical time in a company’s

development and growth. Early-stage investments provide risk capital to

entrepreneurs to help them build and scale their products or services from what may


3
  Available at https://nvca.org/employment-dynamics (last visited on Dec. 5,
2023).
4
  Available at https://nvca.org/about-us/what-is-vc (last visited on Dec. 5, 2023).
5
  Available at https://www.svb.com/globalassets/library/managedassets
/pdfs/healthcare-report-2019-midyear.pdf (last visited on Dec. 5, 2023).

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just be an innovative idea. See Ben Fowler, Stages of Venture Capital, Silicon

Valley Bank. 6 Because early-stage companies typically are not yet generating

revenue, these investments are considered too risky for traditional bank loans or too

small for private equity. See What is Venture Capital?, supra. Venture capital fills

the gap, ensuring that smaller companies get the financial oxygen they need to scale

and thrive. Id.

      Venture capital firms also offer critical operational support to their investment

companies. VC firms partner with company management to develop strategic

priorities, solicit additional investment, and hire new employees. See Paul Gompers,

William Gornall, Steven N. Kaplan & Ilya A. Strebulaev, How Do Venture

Capitalists Make Decisions?, Nat’l Bureau of Econ. Rsch. (Sept. 2016). 7

      Venture capital is an increasingly significant source of funding for growing

businesses.   In 2004, venture-backed companies raised more than $26 billion

globally. See 2022 Venture Yearbook, NVCA.org. 8 In 2022, venture-backed




6
  Available at https://www.svb.com/startup-insights/vc-relations/stages-of-venture-
capital (last visited on Dec. 5, 2023).
7
  Available at https://www.nber.org/system/files/working_papers/w22587
/w22587.pdf (last visited on Dec. 5, 2023).
8
  Available at https://nvca.org/wp-content/uploads/2023/03/2022-Venture-
Yearbook-PDF-Data.pdf (last visited on Dec. 5, 2023).

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companies raised more than $240 billion in the United States alone. Id. Access to

venture capital is, in short, a prerequisite to the success of many new companies.

II.   The Venture Capital Industry Has Historically Excluded Black
      Employees, Partners, and Founders—And In Particular, Black Women.

      Access to venture capital is also not equal for all. By and large, the “gender

and racial makeup of the venture capital industry is staggeringly homogeneous.”

Paul Gompers & Silpa Kovvali, The Other Diversity Dividend, Harvard Business

Review (July-Aug. 2018). 9 And the lion’s share of venture capital financing goes

to non-minority-owned businesses.

      VC Investors. Survey data show that the industry “has remained relatively

uniform for the past 28 years,” largely controlled by non-minority employees. Id.

Between 1990 and 2016, “[o]nly 8% of the investors [were] women,” while “about

2% of VC investors [were] Hispanic, and fewer than 1% [were] [B]lack.” Id.;

compare 2020 Census Illuminates Racial and Ethnic Composition of the Country,

U.S. Census Bureau (Aug. 12, 2021) (reporting U.S. population 19% Hispanic or

Latino and 12% Black). 10 Venture capitalists “have been, and continue to be,



9
  Available at https://hbr.org/2018/07/the-other-diversity-dividend (last visited on
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10
   Available at https://www.census.gov/library/stories/2021/08/improved-race-
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(last visited on Dec. 11, 2023).

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predominately white and male.” Jennifer S. Fan, Startup Biases, 56 U.C. Davis L.

Rev. 1423, 1439–40 (2023).

      In 2016, Black employees comprised just 3% of the workforce at venture

capital firms. See Deloitte University Leadership Center for Inclusion, NVCA-

Deloitte Human Capital Survey Report 3, 8 (2016). 11 By 2022, that percentage had

increased to just 5%, while white employees constituted 70% of the workforce.

Deloitte, Venture Forward & NVCA, VC Human Capital Survey 21 (2023)

(hereinafter “NVCA 2023 Survey”). 12 Among junior-level investment

professionals, Black employment is slightly higher, but significant disparities




11
   Available at https://nvca.org/wp-content/uploads/2019/10/NVCA-Deloitte-
Human-Capital-Survey-2016.pdf (last visited on Dec. 5, 2023). NVCA uses a
robust survey methodology to gather annual data on the state of venture capital.
For the most recent iteration of NVCA’s survey, a total of 315 venture capital
firms participated, which allowed NVCA to gather information on gender for
“5,736 US-based fulltime employees at these firms as of June 30, 2022,” along
with “information on race for 4,504 employees,” and “information on ethnicity
(i.e., Hispanic versus non-Hispanic) for 3,882 employees.” Deloitte, Venture
Forward & NVCA, VC Human Capital Survey 41–42 (2023), available at
https://www2.deloitte.com/content/dam/Deloitte/us/Documents/audit/us-audit-
human-capital-survey-report.pdf (last visited on Dec. 5, 2023). In addition,
“participating firms had a total of $594.5 billion in venture capital assets under
management and a total of 42,735 US-based portfolio companies.” Id.
12
   Available at https://www2.deloitte.com/content/dam/Deloitte/us/Documents
/audit/us-audit-human-capital-survey-report.pdf (last visited on Dec. 5, 2023).

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persist: Black employees filled 7% of junior investment roles in 2022, while white

employees filled 61%. Id.

      Racial disparities are even more pronounced at the partner level, with

investment decision-making driven by non-minority leaders. In 2022, only 4% of

investment partners at venture capital firms were Black—and that number

represented only a small increase from a stagnant 3% in 2020 and 2018. Id.; see

also Fan, supra, at 1441. Meanwhile, white employees held 75% of partner roles.

NVCA 2023 Survey at 21. There is a “disproportionately low representation of

Black employees” holding any leadership responsibility on investment teams,

ranging from originating deals (only 5% Black employees), to sitting on portfolio

company boards (4% Black), to serving on firm investment committees (4%

Black), to owning a management company (5% Black). Id. at 19; accord Fan,

supra, at 1441 (“[D]ecision-makers are still predominantly white and male.”).

      Black women are among the least represented in venture capital

employment, holding just 1% of investment partner positions in 2022, compared to

13% held by white women, 5% held by Asian/Pacific Islander women, and 2%

held by Hispanic women. NVCA 2023 Survey at 15, 22. In 2020, Black women

comprised a mere 0.25% of the investment partner ranks. Id. at 22.




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      These disparities are not without cause. People of color, and Black women

in particular, face significant barriers to entry. For one thing, the size and

recruiting dynamics of venture capital firms affect who gets in the door. Firms

“tend to be small,” with low turnover in senior roles, and NVCA’s most recent

survey found that 79% of respondents recruit by “rely[ing] on personal networks”

which “tend to be homogenous and can lead to the exclusion of qualified

professionals from underrepresented groups.” Id. at 11. Leaders may be drawn to

working and investing with individuals from their own demographic groups:

“[h]omophily, or the natural tendency to gravitate toward people from the same

demographic group or similar backgrounds, can play a role when making an

investment or hiring decision.” See id. at 9. In short, existing networks in the

industry—which are predominantly non-Black and male—can reinforce

themselves; one study even found that “[b]elonging to the same racial group

increases the propensity to work together by 39.2%, and having a degree from the

same school increases it by 34.4%.” Gompers & Kovvali, supra.

      These network biases are compounded by financial barriers. Venture capital

is a “risky and long-term asset class, where most investments inevitably fail.”

Statement of Maryam Haque Before the Committee on Financial Services Task




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Force on Financial Technology 7 (June 30, 2022). 13 This incentivizes participation

by investors who have money to begin with, and can afford to bear the risk. And it

puts venture capital investing opportunities out of reach for minorities who lack

“financial security or personal wealth.” Id.

      VC Portfolio Companies. The vast majority of venture capital funds are

invested into non-minority enterprises. In the first half of 2023, venture-capital-

backed startups raised $75 billion, but only 0.75% of those funds were invested in

startups with Black founders. See Dominic-Madori Davis, Commentary: The Old

Guard in Venture Reigns Supreme, TechCrunch (Aug. 2, 2023). 14 That makes this

year so far slightly worse than 2021, when “VC-backed startups raised more than

$345 billion in VC funding, yet only 2.4% was invested in startups led by female

founders, 1.3% in Black founders, and 2.1% in Hispanic founders.” NVCA 2023

Survey at 8; see also Olin Brookings Commission, Bridging the Startup Funding

Gap for Women, Black and Latinx Entrepreneurs 13 (2023) (finding that “Black-




13
   Available at https://democrats-financialservices.house.gov/uploadedfiles/hhrg-
117-ba00-wstate-harquem-20220630.pdf (last visited on Dec. 5, 2023).
14
   Available at https://techcrunch.com/2023/08/02/black-founders-funding-h1-2023
(last visited on Dec. 5, 2023).

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founded companies raised just $2.2 billion in 2022, down from $4.2 billion in

2021”). 15

      Mirroring the makeup of the VC industry itself, the racial disparities in VC

portfolio companies are particularly stark for Black women. In an industry where

“investment or hiring decision[s]” may be driven by leaders’ existing networks, see

NVCA 2023 Survey at 9; Gompers & Kovvali, supra, the result is that “Black

women continue to receive a paltry amount of all venture funding,” Fan, supra, at

1459. Between 2009 and 2017, “firms started by Black women received only

.0006% of VC funding raised by startups.” Anne Kniggendorf, The Barriers to

Funding Equality Persist for Black Women, Kauffman Foundation: Currents (May

2, 2019) (quoting survey data from DigitalUndivided, The State of Black Women

Founders (ProjectDiane 2018)). 16 “Before 2021, only 93 Black female founders

had raised $1 million or more in venture capital, and prior to 2018 just 34 had done

so.” Alexandra York et al., Meet the 71 Black Women Who Raised $1 Million or

More in VC Funding Since 2021, Business Insider (Apr. 21, 2023). 17


15
   Available at https://olin.wustl.edu/_assets/docs/research/OlinBrookings
Commission2023-PolicyPaper.pdf (last visited on Dec. 5, 2023).
16
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persist-for-black-women (last visited on Dec. 5, 2023).
17
   Available at https://www.businessinsider.com/black-female-founders-raised-
millions-in-vc-this-year-2021-9 (last visited on Dec. 5, 2023).

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III.   Grant Programs Like Fearless Foundation’s Are Critical To Rectifying
       Historical Imbalances And Promoting National Economic Growth.

       The path to diversifying venture capital lies, in part, in cultivating a robust

community of entrepreneurs in need of venture funding. Because VC investing has

largely relied on network effects and pattern matching, most companies founded by

Black women that merit VC investment have been excluded. But there is no shortage

of women-owned businesses ready to grow. Between 2007 and 2019, more than

1,000 women-owned businesses per day opened their doors. The 2019 State of

Women-Owned Businesses Report, American Express 4 (Sept. 2019). 18 From 2014

to 2019, the number of women-owned businesses increased by 21% nationwide, and

the number of Black women-owned business grew by 50%. Id. As of 2021, Black

women-led business made up 36% of all Black-owned businesses with employees.

See Elana Dure, Black Women are the Fastest Growing Group of Entrepreneurs. But

the Job Isn’t Easy, J.P. Morgan Insights (Oct. 12, 2021). 19

       To take the next step, many Black women-owned businesses require modest

seed capital investments. Most are self-funded, with “61% of Black women self-



18
   Available at https://ventureneer.com/wp-content/uploads/2019/10/Final-2019-
state-of-women-owned-businesses-report.pdf (last visited on Dec. 5, 2023).
19
   Available at https://www.jpmorgan.com/insights/business/business-
planning/black-women-are-the-fastest-growing-group-of-entrepreneurs-but-the-
job-isnt-easy#footnote-src-3 (last visited on Dec. 5, 2023).

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fund[ing] their total start-up capital.” Donna Kelley, et al., Black Women Are More

Likely to Start a Business than White Men, Harvard Business Review (May 11,

2021). 20 Programs like the Fearless Strivers Grant Contest bridge the gap for Black

women-owned businesses. By connecting grantees with industry experts and other

partner organizations, the Strivers program—and grant and accelerator programs

like it—not only supply much-needed seed funding, but also enable Black women-

owned businesses to access a diversified network. Such networks are critical to

attracting talent and investment, including from venture capital firms.

      Take, for example, Helen Adeosun, the founder and CEO of CareAcademy.

CareAcademy is an online platform providing high-quality, state-approved training

for home care and home health organizations. 21 Ms. Adeosun attributes the early

success of CareAcademy to the various angel investor organizations and accelerator

programs that specifically aim to support businesses led or owned by women or

women of color. When speaking about the barriers to entry she faced, Ms. Adeosun

noted that while the seed capital itself was necessary to build credibility

operationally, it also opened up a network of ally investors to which she otherwise


20
   Available at https://hbr.org/2021/05/black-women-are-more-likely-to-start-a-
business-than-white-men (last visited on Dec. 5, 2023).
21
   Available at https://careacademy.com/who-we-are (last visited on Dec. 5, 2023).
Amici interviewed Ms. Adeosun on August 31, 2023.

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would not have had had access. To date, CareAcademy has successfully raised over

$30 million in VC funding. Having closed a Series B round of funding in 2022,

CareAcademy has now delivered over 1.5 million hours of training to nearly 300,000

learners. CareAcademy Raises $20M in New Strategic Funding Led by Goldman

Sachs Asset Management, Business Wire (June 8, 2022). 22

      Stories like Ms. Adeosun’s exemplify the benefits of early-stage funding for

minority entrepreneurs historically denied meaningful access to venture capital.

Feyi Ayodele, the founder and Chief Executive Officer of CancerIQ, Inc., likewise

attributes her business’s success to critical early funding. 23 CancerIQ is a healthcare

technology venture that helps providers use genetic information to predict, pre-empt,

and prevent diseases. About CancerIQ, CancerIQ, Inc. 24 Early seed funding

positioned Ms. Ayodele to secure multiple rounds of venture capital investments to

scale her business, grow revenues, and expand within the health care system. Today,

having completed its Series B round of funding, CancerIQ contracts with over 40

health systems and partners with more than 200 clinical locations, improving



22
   Available at https://www.businesswire.com/news/home/20220608005178
/en/CareAcademy-Raises-20M-in-New-Strategic-Funding-Led-by-Goldman-
Sachs-Asset-Management (last visited on Dec. 5, 2023).
23
   Amici interviewed Ms. Ayodele on August 30, 2023.
24
   Available at https://www.canceriq.com/about-us (last visited on Dec. 5, 2023).

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assessment of cancer risks for thousands of patients nationwide. The CancerIQ

Difference: Services for Success, CancerIQ, Inc. 25

      As these examples illustrate, the benefits of early-stage funding like that

offered by the Strivers program go far beyond the grantees themselves. When

venture capital investing opportunities expand, so does the economy. See supra Part

I. All the more so when those opportunities involve investing in women-led

businesses. Women-led businesses grow faster than those helmed by men—by a

significant margin. Between 2012 and 2019, the growth rates for women-led and

men-led employers were 16.7% and 5.2%, respectively. See National Women’s

Business Council Annual Report: 2022.26 And companies with at least one female

founder perform better, on average, than their exclusively male-led counterparts.

See 10 Year Project, supra. “The economic impact of women-owned businesses is

undeniable, from the trillions they contribute via revenue to the millions of jobs they

provide. … [W]hen they win, we all win.” Woman-Owned Businesses Are Growing




25
  Available at https://www.canceriq.com/services (last visited on Dec. 5, 2023).
26
  Available at https://www.nwbc.gov/annual-reports/2022 (last visited on Dec. 5,
2023).

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2X Faster On Average Than All Businesses Nationwide, Business Wire (Sept. 23,

2019). 27

       Likewise undeniable are the benefits of investing in businesses owned by

women of color, in particular. If companies led by women of color were to generate

revenue matching those of women-owned businesses overall, one report estimates

that would translate to $981 billion in revenue and four million new jobs. See id.; 28

see also Andrew W. Hait, Number of Women-Owned Employer Firms Increased

0.6% From 2017 to 2018 (2021). 29 For example, CareAcademy generates millions

of dollars in revenue, employs more than 60 workers, and has trained more than

500,000 home and community care professionals, home health nurses, and family

care providers in the U.S. and Canada.

       Fearless Foundation’s Strivers grant program is thus a modest but important

step toward diversifying venture capital opportunities and, in turn, expanding the

economy. Enjoining its operation would serve no rational economic purpose and


27
   Available at https://www.businesswire.com/news/home/20190923005500
/en/Woman-Owned-Businesses-Are-Growing-2X-Faster-On-Average-Than-All-
Businesses-Nationwide (last visited on Dec. 5, 2023).
28
   This estimate is based on the estimated 10 million people employed by women-
owned companies that generated nearly $1.8 trillion in revenue in 2018, as
reported by the U.S. Census Bureau.
29
   Available at https://www.census.gov/library/stories/2021/03/women-business-
ownership-in-america-on-rise.html (last visited on Dec. 5, 2023).

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only perpetuate racial and gender inequality that has historically pervaded the

venture capital industry.

                                 CONCLUSION

      For the foregoing reasons and those stated in Fearless Foundation’s brief, this

Court should affirm the district court’s order denying the plaintiff’s motion for a

preliminary injunction.




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      This brief complies with the type-volume limit of Fed. R. App. P.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on December 12, 2023, this document was filed with the

clerk of the court and via the ECF system, and that as a result electronic notice of

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